             Case: 22-11036   Document: 106    Page: 1    Date Filed: 07/03/2023




                         United States Court of Appeals
                                       FIFTH CIRCUIT
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                                    July 03, 2023
                                  IMPORTANT NOTICE
TO ALL COUNSEL LISTED BELOW
       No. 22-11036     Charitable DAF Fund, L.P. v. Highland Capital
                        Management, L.P.
       Projected Week of Hearing 09/04/2023
       -----------------------------------------------------
Dear Counsel:
We have tentatively scheduled this case for oral argument during the week
shown.
If you have a serious, irresolvable conflict, contact us IMMEDIATELY via
e-mail (clerk_calendaring@ca5.uscourts.gov), stating your conflict or
request. Do not ask to reschedule argument unless you can find no other
solution.   GENERALLY, ENGAGEMENT OF COUNSEL IN ANOTHER COURT IS NOT AN
"IRRESOLVABLE CONFLICT."
So we can provide all pertinent information to the court before argument,
and barring an emergency, we must receive all additional filings by noon
on the workday immediately preceding argument.
If you are arguing before the Fifth Circuit for the first time, please
visit our Internet site at "http://www.ca5.uscourts.gov/docs/default-
source/forms-and-documents---clerks-office/oral-argument-
notices/handout.pdf" for "Preparing for Oral Argument in the Fifth Circuit"
and at "http://www.ca5.uscourts.gov/documents/ltsig-e.pdf" for "Notice to
Counsel Attending Oral Argument".    If you do not have Internet access,
please call and we will send you the information.
Counsel are advised it is almost invariably more helpful, in lieu of large
exhibits, to furnish the courtroom deputy four smaller sized (not larger
than about 8 X 14 inches) copies of charts, diagrams, etc., for the judges’
use. If counsel believe it necessary to use large exhibits, please also
furnish the small copies.
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           Case: 22-11036   Document: 106   Page: 2   Date Filed: 07/03/2023



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